      Case 7:23-cr-00524 Document 1 Filed on 04/05/23 in TXSD PageUnited
                                                                  1 of 1States Courts                                
                                                                                        Southern District of Texas
                                                                                               &/>ED
                                                                                             April 05, 2023
                                UNITED STATES DISTRICT COURT                          EaƚŚĂŶKĐŚƐŶĞƌ, Clerk ofCourt
                                 SOUTHERN DISTRICT OF TEXAS
                                      McALLEN DIVISION

UNITED STATES OF AMERICA                              '
                                                      '
v.                                                    '    Criminal No.     0
                                                      '
ERNESTO GAONA-GONZALEZ                                '

                                        SEALED INDICTMENT

THE GRAND JURY CHARGES:

       On or about September 4, 2022, in the Southern District of Texas and within the jurisdiction

of the Court, defendant,

                                 ERNESTO GAONA-GONZALEZ


knowing and in reckless disregard of the fact that Ada Noemy Manzanarez-Rodriguez was an alien

who had come to, entered, and remained in the United States in violation of law, did knowingly

transport, move, attempt to transport, and attempt to move said alien within the United States in

furtherance of such violation of law, that is, from a location near Mission, Texas, to another

location near Mission, Texas, by means of a motor vehicle.

       In   violation      of   Title   8,   United       States   Code,   Sections   1324(a)(1)(A)(ii),

1324(a)(1)(A)(v)(II), and 1324(a)(1)(B)(ii).

                                                           A TRUE BILL



                                                           FOREPERSON
ALAMDAR S. HAMDANI
UNITED STATES ATTORNEY




ASSISTANT UNITED STATES ATTORNEY
